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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                     MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                     SECTION: J
                                               ]
                                               ]                     Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                     Mag. Judge Wilkinson
                                               ]

                       SWORN DECLARATION OF DENNIS PREJEAN

         Pursuant to 28 U. S. C. § 1746 Dennis Prejean declares the following:

         1.      “My name is Dennis Prejean. The facts contained in this declaration are within

my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from July 21,

2010 to March 21, 2011. O’Brien’s assigned me to work in Venice, Louisiana at the staging

yard, the demobilization yard and the VRV facility. My duties were to assist O’Brien’s in

tracking equipment and supplies used in the cleanup response to BP’s Deepwater Horizon oil

spill in April 2010.

         3.      Supplies and equipment needed to clean the spill were kept at the staging yard

where I worked. It was my job to inventory all items, track where they were deployed, track

when they returned to the decontamination facility, and track when they were returned to staging

for redeployment or demobilization.

         4.      When I worked in the decontamination yard, my job was to make sure equipment

returning from deployment was cleaned, inventoried and returned to the staging yard or

demobilized and returned to the owner. I also kept track of what equipment was to be

redeployed after decontamination or returned to the owner.




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                                                                                            Ex. 5
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       5.       My last position with O’Brien’s was STR Manager. I supervised a beach cleanup

crew. It was my job to fill out daily reports and keep a crew count. I also attended daily

meetings to explain what we picked up or deployed each day and the equipment we needed.

       6.       O’Brien’s treated me as an independent contractor from the beginning of my

employment until January 1, 2011, when O’Brien’s reclassified me as an employee.

       7.       Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

       8.       Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Spill Workers’ compensation, set our schedules, and directed our work on a daily basis.

                                             Hours Worked

       9.       During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.

       10.      The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

       11.      Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from October 1,

2011 to October 10, 2011. I worked over twelve hours each of these days. See Exhibit 1.

                                               Pay

       12.      When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I




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would be paid “$500 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

       13.     Throughout my employment with O’Brien’s, I was paid $500 per day. This

amount did not increase if I worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                            Control

       15.     O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because John McKue, an O’Brien’s employee, hired me over the phone. Just before

reporting to work in Venice, another O’Brien’s employee named Hope Annunciacion sent me

O’Brien’s hiring documents and employment policies.

       16.     When I was hired, my supervisor, John Sawicki, who was also employed by

O’Brien’s, told me how to do my job.

       17.     O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, I had mandatory daily meetings with Sawicki.

In these meetings, Sawicki gave me and other Spill Workers instructions regarding our daily

tasks and job performance. When there were problems in staging, I went to Sawicki for help.

When there were problems in decontamination, I went to Pete Parker, who also worked for

O’Brien’s.

       18.     Sawicki required me to deliver my inventory report and boom count twice daily,

by 5 a.m. and 3:30 p.m. O’Brien’s used these reports to monitor our work and plan our

assignments for the next day.




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        19.     O’Brien’s directed the information I was to track and how I was to report it.

O’Brien’s also provided instruction on how to fill out the report forms I completed. When my

forms were not filled out properly, or there was some other problem with my work, Sawicki

required me to make corrections according to his instructions.

        20.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

I requested a total of about fourteen days off during my employment with O’Brien’s. I made

these requests to Sawicki, who approved them.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        24.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.     The Spill Workers and I were not allowed to hire employees to help us with our

work.




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       26.     O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

       27.     Around January 1, 2011, a woman from HR met with us. She explained

O’Brien’s was going to make us employees. From that point on, O’Brien’s classified me as an

employee.

       28.     Just before I was let go, or “demobilized,” Sawicki told me that I was to report to

demobilization. In demobilization, my O’Brien’s electronic access badge was deactivated. After

being demobilized, I returned home because I no longer had work or lodging in Venice.

                                            Investment

       29.     The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, O’Brien’s provided us with the equipment we used, including printers,

scanners, hard hats, safety vests, safety glasses, shirts and hats. O’Brien’s typically reimbursed

us for travel expenses and mileage. O’Brien’s also provided facilities, including offices and

lodging.

                                    Special Skill or Expertise

       30.     O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received no formal training after being hired. I

found out about employment with O’Brien’s through my brother. Based on his recommendation,

I contacted O’Brien’s. John McKue from O’Brien’s called me, and after a short phone

interview, offered me a job with O’Brien’s. Less than a week later, I was in Venice receiving

instructions from Sawicki.




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                                                             BP
                                                          RESPONSE
                                                          TIME SHEET
Name: Dennis Prejean                            Billing Period: 9/21/10 - 9-30-10

Paykey Code: ZKRAUMD252                          Response: Deepwater Horizon


    Date       Start   End    Total                     Location/Activity
               Time    Time   Hours



Oct 1, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 2, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 3, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 4, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 5, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 6, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 7, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 8, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 9, 2010    530     1800   12.5 Venice staging / Operations / Yard Supervisor
Oct 10, 2010   530     1800   12.5 Venice staging / Operations / Yard Supervisor




Signature:                                                    Date: 9-30-10
                                                                                    Exhibit 1
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                                 RESPONSE MANAGEME                       T
                                  TEAMING AGREEMEN


This Agreement is between O'Brien's           Response Management        Inc. (O'Brien'sRM)     (referred to
collectively as Company), and Dennis Prejean(referred to as Contract r). In consideration of the mutual
benefits derived herefrom, the parties, intending to be legally bound, c venant and agree as follows.

Company is principally engaged in the business of providing erne gency preparedness and response
management services to its clients. Company wishes to utilize Contra tor to assist Company in providing
these services, and Contractor agrees to support the Company, und r the terms and conditions herein
provided. Such services include, but are not limited to, staffmg ofInci ent Command System positions at
selected emergency events, conducting training courses, participating in and/or facilitating exercises and
other similar consulting services as mutually agreed to by both pies.        Contractor understands that
Company is not obligated to request Contractor's services and Comp y understands that Contractor may
refuse Company's request for services, if Contractor is not available.

Remuneration for services rendered as part of this Agreement will be t a rate of $ TBD per hour/day for
consulting plus reasonable out-of-pocket expenses, and/or ~per       day for responses plus reasonable
out of pocket expenses. Rates may be changed annually upon 30 d s written notice. Contractor will
invoice Company within 10 days of project completion and will          elude receipts for all expenses.
Company will provide all billing to the client and distribute to C ntractor upon receipt of fees and
expenses from the client. Company will provide general liability ins     ce as required by the client and
Contractor will provide workers compensation insurance for its employees.             Contractor will be
responsible for all wages, salaries and benefits of its employees.

Contractor agrees that any proprietary and confidential information th t results from all work covered by
this agreement will be held in strict confidence for at least five ye s beyond the termination of this
Agreement and may not be used for any purpose other than fulfillm nt of Contractor's responsibilities.
Contractor also agrees not to solicit or sell services substantially simil to that provided by Company to
Company's clients for the term of this agreement and for a period of 0 year thereafter.

This Agreement is a continuing (evergreen) commitment with no set t rmination. It does not bind either
party to a joint venture, partnership, or any other type of formal busi ess entity. It also does not make
either party an employee of the other. For the sake of good orde, Contractor will keep Company
apprised of information needed for maintaining Contractor's Statem nt of Qualifications. Either party
may terminate this Agreement with at least 60 days prior written notice to the other party.


COMPANY:

By:                                       _               By:

Name:       K. Tim Perkins

Title:          C.E.O.                                    Title: __   -+                           _

Company: O'Brien's Response Management Inc.               Company: ~r-----------

Date:                                                     Date: ---~-~=-~~=-------
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                                                                                                 Exhibit 2

Teaming Agreement                                                                               March 2009
